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     ROBERT ALLEN BOHANNA
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )        CR-S-07-201 FCD
                                   )
11                  Plaintiff,     )        ORDER SEALING MOTION
                                   )
12        v.                       )
                                   )
13   ROBERT ALLEN BOHANNA, et al. )         Judge: Kimberly J. Mueller
                                   )
14                  Defendants.    )
     ______________________________)
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16
                                            ORDER
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          IT IS ORDERED that the Motion for Bail Review filed on February 20,
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     2009 and setting a bail hearing for February 23, 2009, at 2:00 p.m.,
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     herein placed in a sealed envelope, shall be maintained under seal by the
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     clerk of this Court and shall not be made available to the public.
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     Dated:   February 20, 2009.
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